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Attorney or Party Name. Address, Telephone & FAX Numljers, State Bar             FOR COURT USE ONLY
Number & Email Address
Daniel King
The Attorney Group
3435 Wilshire Blvd
Suite 1111
Los Angeles, OA 90010
213-388-3887 Fax: 213-388-1744
207911 OA
dking@theattorneygroup.com




□ Debtor appearing without attorney
■ Attorney for Debtor

                                                UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA


List all names (Including trade names) used by Debtor within                     CASE NUMBER:
the last 8 years.
In re:                                                                           CHAPTER: 13
  Stephen Nguyen                                                                                        CHAPTER 13 PLAN
                                                                                                             ■ Original
                                                                                                             □ P' Amended*
                                                                                                             □ Z""* Amended*
                                                                                                             □ 3"^ Amended*
                                                                                                             □          Amended*

                                                                                        *llst below which sections have been changed

                                                                                                  fFRBP 3015(b): LBR 3015-11
                                                                                 11 U.S.C. SECTION 341(a) CREDITORS' MEETING:
                                                                                 Date:
                                                                                 Time:
                                                                                 Address:



                                                                                 PLAN CONFIRMATION HEARING: [LBR 3015-1 (d)]
                                                                                 Date:
                                                                                 Time:
                                                                                 Address:
                                                                   Debtor(s).

          "Bankruptcy Code" and "11 U.S.C." refer to the United States Bankruptcy Code, Title 11 of the United States Code.
  "FRBF' refers to the Federal Rules of Bankruptcy Procedure. "LBR" and "LBRs" refer to the Local Bankruptcy Ruie(s) of this court.

Part 1: PRELIMINARY INFORMATION

TO DEBTOR (THE TERM "DEBTOR" INCLUDES AND REFERS TO BOTH SPOUSES AS DEBTORS IN A JOINT
BANKRUPTCY CASE): This Chapter 13 Plan (Plan) sets out options that may be appropriate In some cases, but the
presence of an option in this Plan does not Indicate that the option Is appropriate, or permissible. In your situation. A Plan

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that does not comply with local rules and judicial rulings may not be confirmable. You should read this Plan carefully and
discuss it with your attorney if you have one. If you do not have an attorney, you may wish to consult one.

TO ALL CREDITORS: This Plan is proposed by Debtor and your rights may be affected by this Plan. Your claim may be
reduced, modified, or eliminated. You should read this Plan carefully and discuss it with your attorney if you have one. If
you do not have an attorney, you may wish to consult one.

If you oppose this Plan's treatment of your claim or any provision of this Plan, you or your attorney must file a written
objection to confirmation of the Plan at least 14 days before the date set for the hearing on confirmation, unless otherwise
ordered by the Bankruptcy Court. The Bankruptcy Court may confirm this plan without further notice if no objection to
confirmation is filed. See FRBP 3015. In addition, you must file a timely proof of claim in order to be paid under any plan.
See LBR 3015-1 and FRBP 3002(a).

Defaults will be cured using the interest rate set forth below in the Plan.

The following matters mav be of particular importance to vou:

Debtor must check one box on each line to state whether or not this Plan includes each of the following items, if
an item is checked as "Not included," if both boxes are checked, or neither box is checked, the item wiii be
ineffective ifset outlater as a provision in this Plan.

    1.1     Valuation of property and avoidance of a lien on property of the bankruptcy estate, set out in Giass 3.A.
            and/or Section iV (11 U.S.C.§ 506(a)and (d)):
            □ Included          ■ Not included

    1.2     Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in Section
            IV (11 U.S.C. § 522(f)):
            □ Included          ■ Not included

    1.3     Less than full payment of a domestic support obligation that has been assigned to a governmental unit,
            pursuant to 11 U.S.C. §1322(a)(4). This provision requires that payments in Part 2 Section LA. be for a
            term of 60 months:
            □ inciuded          ■ Not inciuded

    1.4     Other Nonstandard Plan provisions, set out in Section IV:
            ■ Included          □ Not included

ALL CREDITORS ARE REQUIRED TO FILE A PROOF OF CLAIM IN ORDER TO HAVE AN ALLOWED CLAIM,
EXCEPT AS PROVIDED IN FRBP 3002(a). Debtor, or Attorney for Debtor (if any), are solely responsible to object to a
creditor's claim if Debtor deems it necessary. A Debtor whose Plan is confirmed may be eligible thereafter to receive a
discharge of debts to the extent specified in 11 U.S.C. § 1328.

Part 2: PLAN TERMS

Debtor proposes the following Plan terms and makes the following declarations;

Section i. PLAN PAYMENT AND LENGTH OF PLAN

    A. Monthly Plan Payments will begin 30 days from the date the bankruptcy petition was filed. If the payment due date
       falls on the 29"^, 30"', or 31®' day of the month, payment is due on the 1®' day of the following month (LBR
          3015-1(k)(1)(A)).

          Payments by Debtor of:
          $ 2,182.39                  per month for months J                           through JO                  totaling $ 130,943.40        .
          For a total plan length of 60 months totaling $130,943.40.

    B. Nonpriority unsecured claims.

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         1. After Class 1 through Glass 4 creditors are paid, allowed nonpriority unsecured claims that are not separately
            classified (Class 5) will be paid pro rata. If more than one option is checked below, the option providing the
              largest payment will be effective. Check all that apply.

              a. □ "Pot" plan: The sum of $17,949.00

              b. □ "Percentage" plan: 100% of the total amount of these claims, for an estimated payment of $17,949.00.

              c. ■ "Residual" plan: The remaining funds after disbursements have been made to all other creditors
                   provided for in this Plan, estimated to pay $17,949.00 equivalent to 100% of these claims.

         2.   Minimum Plan payments. Regardless of the options checked above, payments on allowed nonpriority
              unsecured claims will be made in at least the following amounts: (a) the sum of $0.00, representing the value
              of non-exempt assets that would have to be paid to nonpriority unsecured creditors if the bankruptcy estate of
              Debtor were liquidated under Chapter 7 (11 U.S.C. § 1325(a)(3)) and (b) if Debtor has above-median income
              and othenwise subject to 11 U.S.C. § 1325(b), the sum of $ 230,509.80 , representing all disposable income
              payable for 60 months.

    C. Regular Plan payments to the Chapter 13 Trustee will be made from future income in the following manner:
         Check all that apply.
         □ Debtor will make Plan payments pursuant to a payroll deduction order.
         ■ Debtor will make Plan payments directly to the Chapter 13 Trustee.
         □ Other {specify method of payment):.

    D. Income tax refunds. Debtor will provide the Chapter 13 Trustee with a copy of each income tax return filed during
       the Plan term within 14 days of filing the return and, unless the Plan provides 100% payment to nonpriority
       unsecured creditors (Class 5), will turn over to the Chapter 13 Trustee all income tax refunds in excess of $500
         received during the Plan term.

    E.   In the event that secured creditor(s) file a Notice of Postpetition Fees and Costs pursuant to FRBP 3002.1(c), the
         Chapter 13 Trustee is authorized, but not required, to commence paying those charges 90 days after that notice is
         filed, unless within that time the Debtor contests those charges by filing a motion to determine payment under
         FRBP 3002.1(e) or agrees to pay those charges by filing a motion to modify this Plan.

    F.   Debtor must make preconfirmation adequate protection payments for any creditor that holds an allowed claim
         secured by personal property where such security interest is attributable to the purchase of such property and
         preconfirmation payments on leases of personal property whose allowed claim is impaired by the terms proposed
         in this Plan. Debtor must make preconfirmation adequate protection payments and preconfirmation lease
         payments to the Chapter 13 Trustee for the following creditor(s) in the following amounts:

         Creditor/Lessor Name                 Collateral Description                    Last 4 Digits of Account #                    Amount
-NONE-


         Each adequate protection payment or preconfirmation lease payment will accrue beginning the 30th day from the
         date of filing of the case. The Chapter 13 Trustee must deduct the foregoing adequate protection payment(s)
         and/or preconfirmation lease payment from Debtor's Plan Payment and disburse the adequate protection payment
         or preconfirmation lease payment to the secured creditor(s) at the next available disbursement or as soon as
         practicable after the payment is received and posted to the Chapter 13 Trustee's account. The Chapter 13 Trustee
         will collect his or her statutory fee on all receipts made for preconfirmation adequate protection payments or
         preconfirmation lease payments.

    G. Debtor must not incur debt greater than $1,000 without prior court approval unless the debt is incurred in the
       ordinary course of business pursuant to 11 U.S.C. §1304(b) or for medical emergencies.

    H. The Chapter 13 Trustee is authorized to disburse funds after the date the Plan confirmation is announced in open
         court.


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    I.   Debtor must file timely all postpetition tax returns and pay timely all postconfirmation tax liabilities directly to the
         appropriate taxing authorities.

    J. Debtor must pay all amounts required to be paid under a Domestic Support Obligation that first became payable
       after the date of the filing of the bankruptcy petition.

    K. If the Plan proposes to avoid a lien of a creditor, the Chapter 13 Trustee must not disburse any payments to that
         creditor on that lien until the Plan confirmation order is entered

Section II. ORDER OF PAYMENT OF CLAIMS; CLASSIFICATION AND TREATMENT OF CLAIMS:

   Except as otherwise provided in this Plan or by court order, the Chapter 13 Trustee must disburse all available funds
   for the payment of claims as follows:

    A. ORDER OF PAYMENT OF CLAIMS:

         The order of the payments will be:

         1st    If there are Domestic Support Obligations, the order of priority will be:

                    (a) Domestic Support Obligations and the chapter 13 trustee's fee not exceeding the amount accrued on
                       Plan Payments made to date;

                    (b) Administrative expenses until paid in full;

                If there are no Domestic Support Obligations, the order of priority will be:

                    (a)The chapter 13 trustee's fee not exceeding the amount accrued on Plan Payments made to date;

                    (b) Administrative expenses(Class 1(a)) until paid in full.

         2nd Subject to the 1st paragraph, pro rata to all secured claims and all priority unsecured claims except as
             otherwise provided in this Plan.

         3rd    Non-priority unsecured creditors will be paid pro rata except as otherwise provided in this Plan. No oavment
                will be made on nonprioritv unsecured claims until all the above administrative, secured and prioritv claims
                have been paid in full unless otherwise provided in this Plan.

    B. CLASSIFICATION AND TREATMENT OF CLAIMS:




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                     ALLOWED UNSECURED CLAIMS ENTITLED TO PRIORITY UNDER 11 U.S.C. §507
                        Class 1 claims will be paid pro rata in the order set forth in Section II.A. above.

Unless otherwise ordered by the court, the claim amount stated on a proof of claim, and the dollar amount of any allowed
administrative expense, controls over any contrary amount listed below.

                                                     AMOUNT OF                    INTEREST                                TOTAL
                CATEGORY
                                                  PRIORITY CLAIM                 RATE, if any                            PAYMENT

a. Administrative Expenses

(1)     Chapter 13 Trustee's Fee - estimated at 11% of all payments to be made to all classes through this Plan.

(2)     Attorney's Fees                                        $2,810.00                                                                        $2,810.00

(3)     Chapter 7 Trustee's Fees


(4)     Other

(5)     Other

b. Other Priority Claims

(1)     Internal Revenue Service

(2)     Franchise Tax Board

(3)     Domestic Support Obligation

(4)     Other                                                 $15,000.00               0%                                                  $15,000.00

(5)     Other                                                  $5,500.00               0%                                                       $5,500.00

        Domestic Support Obligations that have been assigned to a governmental unit and are not to be paid in full in the
        Plan pursuant to §1322(a)(4)(this provision requires that payments in Part 2 Section I.A. be for a term of 60
        months)

        {specify creditor name):




                                                                      CLASS 2



                CLAIMS SECURED SOLELY BY PROPERTY THAT IS DEBTOR'S PRINCIPAL RESIDENCE
                   ON WHICH OBLIGATION MATURES AFTER THE FINAL PLAN PAYMENT IS DUE
Check one.



      □ None. If "None" is checked, the rest of this form for Class 2 need not be completed.



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    I Debtor will maintain and make the current contractual installment payments on the secured claims listed below,
     with any changes required by the applicable contract and noticed in conformity with any applicable rules. These
     payments will be disbursed either by the Chapter 13 Trustee or directly by Debtor, as specified below. Debtor will
     cure the prepetition arrearages, if any, on a listed claim through disbursements by the Chapter 13 Trustee, with
     interest, if any, at the rate stated.

      Unless otherwise ordered by the court, the arrearage amount stated on a proof of claim controls over any contrary
     amount listed below.


                                                                                                                                       POST-
                                                                                           ESTIMATED                                  PETITION
                            LAST 4 DIGITS          AMOUNT OF                                                   ESTIMATED
      NAME OF                                                           INTEREST          MONTHLY                                   MORTGAGE
                            OF ACCOUNT             ARREARAGE,                                                    TOTAL
     CREDITOR                                                               RATE         PAYMENT ON                                  PAYMENT
                              NUMBER                   IF ANY                                                   PAYMENTS
                                                                                          ARREARAGE                                 DISBURSING
                                                                                                                                      AGENT
County of Orange            XXXX6321              $26,001.39            1.50            $667.70               $26,708.17          ■Trustee
                                                                                                                                  □ Debtor
Fidelity National Title                           $50,000.00            0.00             $1,250.00             $50,000.00         □Trustee
Insurance Compan                                                                                                                  ■ Debtor




                                                                    CLASS 3A



                   CLAIMS SECURED BY REAL OR PERSONAL PROPERTY WHICH ARE TO BE PAID
                                 IN FULL DURING THE TERM OF THIS PLAN.

Check one.



  ■ None. If "None" is checked, the rest of this form for Class 3A need not be completed.

  □ Debtor proposes:

    (1) Bifurcation of Claims - Dollar amounts/lien avoidance. Except as provided below regarding bifurcation of
       claims into a secured part and an unsecured part, and unless otherwise ordered by the court, the claim amounts
       listed on a proof of claim control this Plan over any contrary amounts listed below.

       (a) Bifurcated claims - secured parts: Debtor proposes that, for the purposes of distributions under this Plan, the
           dollar amount of secured claims in this Class 3A should be as set forth in the column headed "Secured Claim
           Amount." For that dollar amount to be binding on the affected parties, either

           (i) Debtor must obtain a court order granting a motion fixing the dollar amount of the secured claim and/or
               avoiding the lien, or

           (ii) Debtor must complete and comply with Part 2 Section IV.C. , so that the Plan itself serves as such a motion;
                the "Included" boxes must be checked in Part 1 Paragraph 1.4 (indicating a nonstandard provision in
                Section IV.C.) and Part 1 Paragraphs 1.1 and/or 1.2 (indicating that this Plan includes valuation and lien
                avoidance, and/or avoidance of a judicial lien or nonpossessory, nonpurchase-money lien in Section IV.C.);
                and this Plan must be confirmed - if any one of those conditions is not satisfied, then the claim will not be
                bifurcated into a secured part and an unsecured part pursuant to this sub-paragraph.

       (b) Bifurcated claims - unsecured parts: Any allowed claim that exceeds the amount of the secured claim will be
          treated as a nonpriority unsecured claim in Class 5 below.

    (2) Taxes/insurance. Debtor must pay all required ongoing property taxes and homeowner's insurance for real

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       property paid in full in this class.

                                 LAST 4 DIGITS                            SECURED                              ESTIMATED             ESTIMATED
                                                           CLAIM                             INTEREST
 NAME OF CREDITOR                 OF ACCOUNT                                CLAIM                               MONTHLY                TOTAL
                                                           TOTAL                                 RATE
                                    NUMBER                                 AMOUNT                               PAYMENT              PAYMENTS




                                                                     CLASS 3B



                                        SECURED CLAIMS EXCLUDED FROM 11 U.S.C. §506

Check one.



  ■ None. If "None"is checked, the rest of this form for Class 3B need not be completed.

  □ The claims listed below were either:

1. Incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle
  acquired for the personal use of Debtor, or

2. Incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of
  value.

These claims will be paid in full under this Plan with interest at the rate stated below. Unless otherwise ordered by the

                                            LAST 4
                                                                                                            ESTIMATED                ESTIMATED
                                           DIGITS OF                                   INTEREST
     NAME OF CREDITOR                                          CLAIM TOTAL                                   MONTHLY                   TOTAL
                                           ACCOUNT                                         RATE
                                                                                                              PAYMENT                PAYMENTS
                                           NUMBER




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                                                                    CLASS 4



                     OTHER CLAIMS ON WHICH THE LAST PAYMENT ON A CLAIM IS DUE AFTER
                            THE DATE ON WHICH THE FINAL PLAN PAYMENT IS DUE
  Check one.


  ■ None. If"None"is checked, the rest of this form for Class 4 need not be completed.

  □ Debtor will maintain and make the current contractual installment payments (Ongoing Payments) on the secured
   claims listed below, with any changes required by the applicable contract and noticed in conformity with any
    applicable rules. These payments will be disbursed either by the Chapter 13 Trustee or directly by Debtor, as
    specified below. Debtor will cure and pay the prepetition arrearages, if any, on a claim listed below through
    disbursements by the Chapter 13 Trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the
    court, the dollar amount of arrearage stated on a proof of claim controls over any contrary amount listed below.

                                                                                         Cure of Default
                        LAST 4 DIGITS OF                                                    ESTIMATED                                  ONGOING
    NAME OF                                       AMOUNT OF                                                      ESTIMATED
                           ACCOUNT                                       INTEREST           MONTHLY                                    PAYMENT
    CREDITOR                                      ARREARAGE,                                                        TOTAL
                            NUMBER                                         RATE            PAYMENT ON                                DISBURSING
                                                      IF ANY                                                     PAYMENTS
                                                                                           ARREARAGE                                    AGENT
                                                                                                                                  1 Trustee
                                                                                                                                    Debtor




                                                                   CLASS 5A


                          NON-PRIORITY UNSECURED CLAIMS NOT SEPARATELY CLASSIFIED
Allowed nonpriority unsecured claims not separately classified must be paid pursuant to Section I.B. above.


                                                     SEPARATE CLASSIFICATION:
Check all that apply If Debtor proposes any separate classification of nonpriority unsecured claims.
   ■ None. If "None" is checked, the rest of this form for Class 5 need not be completed.



                                                                   CLASS 5B



□ Maintenance of payments. Debtor will maintain and make the contractual installment payments on the unsecured
claims listed below on which the last payment is due after the final Plan payment. The contractual installment payments
will be disbursed by Debtor.

                                                     LAST 4
                                                                                              ESTIMATED
                                                   DIGITS OF            INTEREST                                        ESTIMATED TOTAL
         NAME OF CREDITOR                                                                      MONTHLY
                                                   ACCOUNT                RATE                                             PAYMENTS
                                                                                               PAYMENT
                                                    NUMBER
                                                                    1




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                                                                   CLASS 5C


  □ Maintenance of payments and cure of any default. Debtor must maintain and make the contractual installment
    payments and cure any default in payments on the unsecured claims listed below on which the last payment is due
    after the final Plan payment. The claim for the arrearage amount will be paid in full as specified below and disbursed
    by the Chapter 13 Trustee.
                                             LAST 4                                                      Cure of Default
                                           DIGITS OF        AMOUNT OF                               ESTIMATED
      NAME OF CREDITOR                                                           INTEREST                                  ESTIMATED TOTAL
                                           ACCOUNT          ARREARAGE                                MONTHLY
                                                                                   RATE                                       PAYMENTS
                                            NUMBER                                                   PAYMENT




                                                                   CLASS 5D


  □ Other separately classified nonpriority unsecured claims.
                                                    LAST 4
                                                                       AMOUNT TO BE               INTEREST
                                                   DIGITS OF                                                           ESTIMATED TOTAL
        NAME OF CREDITOR                                                 PAID ON THE               RATE (if
                                                   ACCOUNT                                                         AMOUNT OF PAYMENTS
                                                                              CLAIM               applicable)
                                                    NUMBER




                                                                    CLASS 6



                                                    SURRENDER OF COLLATERAL

  Check one.


  ■ None. If "None" is checked, the rest of this form for Class 6 need not be completed.

  □ Debtor elects to surrender to each creditor listed below the collateral that secures the creditor's claim. Debtor
    requests that upon confirmation of the Plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only
    and that the stay under 11 U.S.C. §1301 be terminated in all respects. Any allowed unsecured claim resulting from
    the disposition of the collateral will be treated in Class 5 above.


     Creditor Name:                                                    Description:




                                                                    CLASS 7



                                     EXECUTORY CONTRACTS AND UNEXPIRED LEASES
  Check one.


  ■ None. If "None" is checked, the rest of this form for Class 7 need not be completed.


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  □ The executory contracts and unexpired leases listed below are treated as specified {identify the contract or lease at
   issue and the other party(ies) to the contract or ieasey.


    Creditor Name:


    Description:
                           □ Rejected                                           □ Assumed; cure amount (if any): $

    Creditor Name:


    Description:      _
                           □ Rejected                                           □ Assumed; cure amount (if any): $

    Payments to be cured within          months of filing of the bankruptcy petition. All cure payments will be
    made through the Chapter 13 Trustee.

□ See attachment for additional claims in Class 7.



Section III. PLAN SUMMARY




               CLASS la                                                                                                       $2,810.00

               CLASS lb                                                                                                     $20,500.00

               CLASS 1c                                                                                                            $0.00

               CLASS 2                                                                                                      $76,708.17

               CLASS 3A                                                                                                            $0.00

               CLASS 3B                                                                                                            $0.00

               CLASS 4                                                                                                             $0.00

               CLASS 5                                                                                                      $17,949.00

               CLASS 7                                                                                                             $0.00

               SUB-TOTAL                                                                                                   $117,967.17

               CHAPTER 13 TRUSTEE'S FEE
               (Estimated 11% unless advised otherwise)                                                                     $12,976.20

               TOTAL PAYMENT                                                                                               $130,943.40


Section IV. NON-STANDARD PLAN PROVISIONS

   □ None. If "None" is checked, the rest of Section IV need not be completed.

   Pursuant to FRBP 3015(c), Debtor must set forth all nonstandard Plan provisions in this Plan in this separate
   Section IV of this Plan and must check off the "Included" box or boxes in Paragraphs 1.1,1.2,1.3 and/or 1.4 of
   Part 1 of this Plan. Any nonstandard Plan provision that does not comply with these requirements is
   ineffective. A nonstandard Plan provision means any Plan provision not otherwise included in this mandatory Chapter
   13 Plan form, or any Plan provision deviating from this form.

   The nonstandard Plan provisions seeking modification of liens and security interests address only those
   liens and security interests known to Debtor, and known to be subject to avoidance, and all rights are
   reserved as to any matters not currently known to Debtor.

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       □ A. Debtor's Intent to File Separate Motion to Value Property Subject to Creditor's Lien or Avoid Creditor's Lien
       f11 U.S.C. S 506(a) and (ci)l Debtor will file motion(s) to value real or personal property of the bankruptcy estate
       and/or to avoid a lien pursuant to 11 U.S.C § 506(a) and (d), as specified in Attachment A.
       □ B. Debtor's Intent to File Separate Motion to Avoid Creditor's Judicial Lien or Nonpossessorv, Nonpurchase
       Securitv Interest f11 U.S.C. S 522(f)1. Debtor will file a Motion to avoid a judicial lien or nonpossessory,
       nonpurchase-money security interest, on real or personal property of the bankruptcy estate listed below pursuant to
       11 U.S.C § 522(f). If the court enters an order avoiding a lien under 11 U.S.C. § 522(f), the Chapter 13 Trustee will
       not pay any claim filed based on that lien as a secured claim.

Name of Creditor Llenholder/Servicer:

Description of iien and coiiaterai (e.g., 2"^ iien on 123 Main St.):


Name of Creditor Lienhoider/Servicer:

Description of lien and coiiaterai (e.g., 2"<' iien on 123 Main St.):


Name of Creditor Lienhoider/Servicer:

Description of iien and coiiaterai (e.g., 2"*' iien on 123 Main St.):



    C. Debtor's Request in this Plan to Modify Creditor's Secured Claim and Lien. Debtor proposes to modify the following
       secured claims and liens in this Plan without a separate motion or adversary proceeding - this Plan will serve as the
       motion to value the collateral and/or avoid the liens as proposed below. To use this option, Debtor must serve
       this Plan, LBR Form F 3015-1.02.NOTiCE.341.LIEN.MOD.PLAN.CONFRM and ail related exhibits as
       instructed in that form.



                      DEBTOR'S REQUEST TO MODIFY CREDITOR'S SECURED CLAIM AND LIEN

     TO CREDITOR LiENHOLDER/SERViCER



        □         Real property collateral (street address and/or legal description or document recording number, including
                  county of recording:

                  {attach page with legal description of property or document recording number as appropriate).

        □         Other collateral {add description such as judgment date, date and place of lien recording, book and page
                  number):


        □         11 U.S.C. § 522(f) - Debtor seeks avoidance of your lien(s) on the above described collateral effective
                  immediately upon issuance of the order confirming this Plan.

        □         11 U.S.C. § 506(a) and (d) - Debtor seeks avoidance of your lien(s) on the above described collateral
                  that will be effective upon the earliest to occur of either payment of the underlying debt determined under
                  nonbankruptcy law or one of the following:



                  (1) discharge under 11 U.S.C. § 1328, or

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                  (2) if the value of the "amount of remaining secured claim" listed below is "$-0-" then upon completion of
                       ail Plan payments.

    Value of collateral:                                                                                                     $
    Liens reducing equity (to which subject lien can attach): $            +$                              +$           = ($                    )
    Exemption (only applicable for lien avoidance under 11 U.S.C.§ 522(f):                                                ($                    )
    Wherefore, Debtor requests that this court issue an order granting the foregoing property valuation
    and/or lien avoidance of the above-listed creditor on the above-described collateral in the form
    Attachment B. C and/or D to this Plan, as applicable.{Debtor must use and attach a separate Attachment
    B, C and/or D which are also mandatory court forms for modification of each secured claim and lien.)
    Amount of remaining secured claim (negative results should be listed as $-0):                                             $

    Note: See other parts of this Plan for the proposed treatment of any remaining secured claim (generally Class 3).


    D. Other Non-Standard Plan Provisions:{use atUichment, if necessary):
Debtor will make payments directly to Toyota Motor Credit Co for his 2017 Lexus vehicle. Debtor's solar panels with the Hero
Program are being paid through the debtor's county property taxes.

V. REVESTING OF PROPERTY

         Property of the bankruptcy estate will not revest in Debtor until a discharge is granted or the case is dismissed or
         closed without discharge. Revesting will be subject to all liens and encumbrances in existence when the case was
         filed, except those liens avoided by court order or extinguished by operation of law. In the event the case is
         converted to a case under Chapter 7, 11, or 12 of the Bankruptcy Code, the property of the estate will vest in
         accordance with applicable law. After confirmation of this Plan, the Chapter 13 Trustee will not have any further
         authority or fiduciary duty regarding use, sale, or refinance of property of the estate except to respond to any
         motion for proposed use, sale, or refinance as required by the LBRs. Prior to any discharge or dismissal. Debtor
         must seek approval of the court to purchase, sell, or refinance real property.

By filing this document, the Attorney for Debtor, or Debtor if not represented by an attorney, also certify(ies) that
the wording and order of the provisions in this Plan are identical to those contained in the Central District of
California Chapter 13 Plan other than any nonstandard Plan provisions included in Section iV.


 Date:    September 12,2018                                                      /s/ Daniel King
                                                                                 Daniel King
                                                                                 Attorney for Debtor(s)


                                                                                 isl Stephen Nguyen
                                                                                 Stephen Nguyen
                                                                                 Debtor 1



                                                                                 Debtor 2




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                     ATTACHMENT A TO CHAPTER 13 PLAN/CONFIRMATION ORDER
                      (11 U.S.C.§§ 506: VALUATION/LIEN AVOIDANCE BY SEPARATE MOTION(S))

   None. If"None"is checked, the rest of this Attachment A need non be completed.


1. Creditor Lienholder/Servicer:
        Subject Lien {e.g., 2"^ Lien on 123 Main St.):


2. Creditor Lienhoider/Servicer:
        Subject Lien {e.g., 3"* Lien on 123 Main St.):


3. Creditor Lienholder/Servicer:
        Subject Lien {e.g., 4"^ Lien on 123 Main St.):


4. Creditor Lienholder/Servicer:
        Subject Lien {e.g., 2™' Lien on 123 Main St.):


5. Creditor Lienholder/Servicer:
        Subject Lien (e.g., 3"" Lien on 123 Main St.):


6. Creditor Lienholder/Servicer:
        Subject Lien {e.g., 4*^ Lien on 123 Main St.):


7. Creditor Lienholder/Servicer:
        Subject Lien {e.g., 2"" Lien on 123 Main St.):


8. Creditor Lienholder/Servicer:
        Subject Lien (e.g., 3"" Lien on 123 Main St.):


9. Creditor Lienhoider/Servicer:
        Subject Lien (e.g., 4'" Lien on 123 Main St.):


(Attach additional pages for more Hens/provisions.)

CERTiFiCATiON: I have prepared this attachment (including any additional pages)for use by the Chapter 13 Trustee. I
certify under penalty of perjury under the laws of the United States of America that the information provided in this
attachment is accurate to the best of my knowledge after reasonable inquiry, and I acknowledge that the Chapter 13
Trustee has no duty to verify the accuracy of that information.

 Executed on (date)       September 12,2018


Print name:     Daniel King
  I Attorney for Debtor or         □ Debtor appearing without attorney


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